Case 23-01129-mkn   Doc 22-10   Entered 11/30/23 15:59:22   Page 1 of 6




             EXHIBIT “J”
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 Case23-01129-mkn
      23-12054-mkn Doc
                    Doc22-10
                        36 Entered
                             Entered08/01/23
                                     11/30/2311:30:41
                                              15:59:22 Page
                                                        Page1 2ofof5 6
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 Case23-01129-mkn
      23-12054-mkn Doc
                    Doc22-10
                        36 Entered
                             Entered08/01/23
                                     11/30/2311:30:41
                                              15:59:22 Page
                                                        Page2 3ofof5 6
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 Case23-01129-mkn
      23-12054-mkn Doc
                    Doc22-10
                        36 Entered
                             Entered08/01/23
                                     11/30/2311:30:41
                                              15:59:22 Page
                                                        Page3 4ofof5 6
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 Case23-01129-mkn
      23-12054-mkn Doc
                    Doc22-10
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                             Entered08/01/23
                                     11/30/2311:30:41
                                              15:59:22 Page
                                                        Page4 5ofof5 6
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 Case23-01129-mkn
      23-12054-mkn Doc
                    Doc22-10
                        36 Entered
                             Entered08/01/23
                                     11/30/2311:30:41
                                              15:59:22 Page
                                                        Page5 6ofof5 6
